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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,

                    v.
                                                            Civil Action No. 25-cv-10676-BEM
 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



                         DECLARATION OF KRISTIN MACLEOD-BALL


Pursuant to 28 U.S.C. § 1746, I hereby declare:

1.     I am a senior staff attorney at the National Immigration Litigation Alliance. I am one of

the counsel for Plaintiffs and class members in the above-captioned case. I submit this

declaration in support of Plaintiffs’ Brief in Support of Joinder of the Department of Defense.

2.     I have personal knowledge of the facts set forth herein, and, if called as a witness, I could

and would testify completely as set forth below.

3.     Late in the evening of May 6, 2025 and during the morning of May 7, 2025, Plaintiffs’

counsel in this case learned from immigration attorneys and press reports that individuals who fit

the description of class members in the above-captioned case were being scheduled for imminent

removal to Libya.

4.     From subsequent communications with attorneys, including attorneys representing some


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of these individuals in immigration proceedings, I learned that there were thirteen individuals in

this group as well as their names, A-numbers, and countries of origin. Libya is not the country of

origin of any of them. Instead, their countries of origin include Laos, Vietnam, Myanmar, Mali,

Burundi, Cuba, Bolivia, Mexico, and the Philippines.

5.      I entered the A-numbers into the EOIR Automated Case Information System,

https://acis.eoir.justice.gov/en/caseInformation, which provides immigration court information,

including the date and location of prior removal orders. Based on my use of this system, I was

able to ascertain that a minimum of eleven of the men have final removal orders issued by an

immigration court and are members of the certified class in this case.

6.      One individual was ordered removed by the Tacoma, WA Immigration Court in 2022.

7.      One individual was ordered removed by the Los Angeles, CA Immigration Court in

2006.

8.      One individual was ordered removed by the Chicago, IL Immigration Court in 2008.

9.      One individual was ordered removed by the Omaha, NE Immigration Court in 2023.

10.     One individual was ordered removed by the Dallas, TX Immigration Court in 2023.

11.     One individual was ordered removed by the Philadelphia, PA Immigration Court in 2013.

12.     One individual was ordered removed by the Tacoma, WA Immigration Court in 2009.

13.     One individual was ordered removed by the San Francisco, CA Immigration Court in

2014.

14.     One individual was ordered removed by the Adelanto, CA Immigration Court in 2021.

15.     One individual was ordered removed by the Miami, FL Immigration Court in 2011.

16.     One individual was ordered removed by the Tacoma, WA Immigration Court in March

2025.



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       I declare under penalty of perjury that the above information is true and correct to the

best of my knowledge. Executed this 14th day of May 2025 at Brookline, Massachusetts.

                                             By:     s/ Kristin Macleod-Ball
                                                     Kristin Macleod-Ball




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